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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA

    IN RE: CHINESE-MANUFACTURED                             )        CASE NO. 2:09-MD-02047
    DRYWALL PRODUCTS LIABILITY                              )
    LITIGATION                                              )        SECTION L
                                                            )
                                                            )        JUDGE FALLON
    (Relates to Amato v. Liberty Mutual Ins.,               )
    No. 2:10-cv-00932)                                      )        MAG. JUDGE WILKINSON

            WESTCHESTER FIRE INSURANCE COMPANY’S SUR-REPLY
       TO AMERICAN HOME ASSURANCE COMPANY’S REPLY IN SUPPORT OF
        PLAINTIFFS’ MOTION TO AMEND COMPLAINT BY INTERLINEATION
          American Home Assurance Company (“American Home”) admits in its reply (Rec. Doc.

18488) that “futility” – that is, the inability of a claim to withstand a motion to dismiss under

Federal Rule of Civil Procedure 12(b)(6)1 – is a proper ground for denial of a motion to amend.2

Westchester Fire Insurance Company (“Westchester”) established futility in its Supplemental

Memorandum (Rec. Doc. 18487) when it showed, among other things, that a direct action is not

available to plaintiff Damien Querol, who is the only plaintiff referenced in Plaintiffs’ motion and

American Home’s joinder.3

          Indeed, two of the Florida Chinese-drywall cases that Westchester cited in its Supplemental

Memorandum were federal court dismissals of purported direct actions against insurers,4 and there

is a third case like them that Westchester now cites for good measure.5 One of the California cases


1
         Rec. Doc. 18488 at 6-7 and n.18 (citing Marucci Sports, LLC v. NCAA, 751 F.3d 368, 378 (5th Cir. 2014) and
Stripling v. Jordon Prod. Co., 234 F.3d 863, 873 (5th Cir. 2000)).
2
        Rec. Doc. 18488 at 6 and n.17 (citing Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139 (5th Cir. 1993) and
Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981)).
3
          Rec Doc. 18487 at 3-7.
4
         See Rec. Doc. 18487 at 5-6 and n.16 (citing Order Granting Motion to Dismiss Counterclaims, Dkt. No. 40,
Colony Ins. Co. v. Total Contracting & Roofing, Inc., et al., No. Civ. A. 10-23091 (S.D. Fla. Dec. 8, 2010), a copy of
which was attached to the Supplemental Memorandum as Exhibit B, and Order, Dkt. No. 50, Mid-Continent Cas. Co.
v. Eastern Constr. Group, Inc., et al., No. Civ. A. 10-21041 (S.D. Fla. Oct. 13, 2010), a copy of which was attached
to the Supplemental Memorandum as Exhibit C).
5
        See American Home Assur. Co. v. Arrow Terminals, Inc., No. 8:11-CV-1278-T-33AEP, 2011 WL 6098011
(M.D. Fla., Dec. 7, 2011).
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Westchester cited was a federal court’s sua sponte dismissal of a purported direct action.6 To that,

Westchester now adds an additional California federal court dismissal of a purported direct action.7

         While these cases did not directly involve the question of futility relative to a motion to

amend, they plainly did involve futility as a factual matter, because, as stated, futility is the inability

of a claim to withstand a motion to dismiss. Thus, the cases support the proposition that the

amended complaint proposed by the plaintiffs is futile. Moreover, in an analogous situation, a

court denied leave to amend to some mutual fund shareholders who impermissibly asserted direct

claims instead of derivative claims under the Investment Company Act.8

         Finally, American Home and Plaintiffs argue that Plaintiffs properly notified Westchester

of Plaintiffs’ motion to amend, and in support, rely on a letter from Mr. Leonard A. Davis, counsel

for Plaintiffs in this matter, to Ms. Anaysa Gallardo Stutzman, an attorney with Cozen O’Connor

who represents Westchester in the Pen II action.9 As discussed in greater detail in the Affidavit

attached hereto, Ms. Stutzman did not receive this letter.10 Furthermore, as American Home itself

acknowledges, four Cozen O’Connor attorneys represent Westchester in the Pen II action: (1)

Anaysa Gallardo Stutzman; (2) Joseph A. Ziemianski; (3) Bryan P. Vezey; and (4) Peter B.

Magnuson.11 As American Home also acknowledges, all four of these attorneys are identified on

the PACER docket for the Pen II action as “attorney to be noticed” for Westchester.12



6
        See Rec. Doc. 18487 at 6 (citing Laguna Publishing Co. v. Employers Reinsurance Corp., 617 F. Supp. 271,
272 (C.D. Cal. 1985)).
7
         See Brosnan v. Avildsen, No. C-07-06438-EDL, 2008 WL 2357248, at *4 (N.D. Cal., Jun. 6, 2008) (“Under
California law, a plaintiff may not bring a direct action against an insurer under an insurance policy until the plaintiff
has a final judgment against the insured.”).
8
         See In re Eaton Vance Mutual Funds Fee Litigation, 403 F. Supp. 2d 310, 318-20 (S.D.N.Y. 2005).
9
         See Dkt. No. 18488-1 (Exhibit 1 to American Home’s reply); Dkt. No. 18489-1 (Exhibit 1 to Plaintiffs’
joinder in American Home’s reply).
10
         An Affidavit of Anaysa Gallardo Stutzman, Esq. is attached hereto as Exhibit A.
11
         See Dkt. No. 18488-2 (Exhibit 2 to American Home’s reply).
12
         See id.

                                                            2
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           Plaintiffs state that they “used the information provided by PACER to determine that Cozen

O’Connor represents Westchester” and further that “Anaysa Gallardo Stutzman in Cozen

O’Connor’s Miami office is identified as counsel of record for Westchester” in the Pen II action.13

Nonetheless, Mr. Davis addressed his letter solely to Ms. Stutzman, sent it solely by email, and

did so almost a week after this Honorable Court ordered Plaintiffs to notify counsel for all parties

regarding Plaintiffs’ motion to amend and the related briefing deadline and hearing.14 Finally, an

attorney with Cozen O’Connor emailed Mr. Russ Herman – an attorney at Mr. Davis’ firm – on

February 5, 2015 to inquire whether Plaintiffs had notified Westchester as ordered by this

Honorable Court, and Mr. Herman chose not to respond to this inquiry.15 Plaintiffs and American

Home should not now be heard to argue that Plaintiffs properly notified Westchester.

           For these reasons, Westchester respectfully reiterates its request that this Honorable Court

deny Plaintiffs’ motion, and refuse to allow Plaintiffs to substitute Westchester in place of

American Home as a defendant in the Amato action.




13
           See Dkt. No. 18489 (Plaintiffs’ joinder in American Home’s reply).
14
         See Dkt. No. 18488-1 (Exhibit 1 to American Home’s reply); Dkt. No. 18489-1 (Exhibit 1 to Plaintiffs’
joinder in American Home’s reply).
15
           See Dkt. No. 18301-3 (Exhibit B to Westchester’s ex parte motion for leave to file its Opposition to Plaintiffs’
motion).

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Dated: March 24, 2015             Respectfully Submitted,

                                  BY:           /s/ John W. Hite

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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Sur-Reply has been served on Plaintiffs’
Liaison Counsel, Russ Herman, and Defendants’ Liaison Counsel, Kerry Miller, by U.S. Mail and
e-mail or by hand delivery and e-mail and upon all parties by electronically uploading the same to
Lexis Nexis File & Serve in accordance with Pretrial Order No. 6, and that the foregoing was
electronically filed with the Clerk of Court of the United States District Court for the Eastern
District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing
in accordance with the procedures established in MDL 2047, on this 24th day of March 2015.

                                                                    /s/ John W. Hite
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